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                      UNITED STATES DISTRICT
                   FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA         )
                                 )
                                 )
v.                               )       Case No. 21-cr-00444-JEB
                                 )
BRIAN MOCK,                      )
                                 )
                                 )
               Defendant         )
                                 )




       DEFENDANT’S MOTION FOR MODIFICATION OF TERMS AND
                  CONDITIONS OF PRETRIAL RELEASE




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        NOW COMES defendant Brian Mock, by and through his undersigned counsel, and

respectfully requests that this Honorable Court issue an Order directing Pretrial Services to

conduct an investigation into an alternative residence for Mr. Mock as part of a motion to modify

Mr. Mock’s terms and conditions of his pretrial release.

        On May 23, 2022, this Court granted Mr. Mock’s Motion for Reconsideration of the

Detention Order previously entered and ordered him be released to reside with his parents as

Third-Party Custodians in a Northern Virginia suburb of Washington, D.C. See EFC. Minute

Order Dated May 23, 2022.

        On May 24, 2022, Mr. Mock was released from custody and took up residence as

authorized by the Court.

        In the hours FOLLOWING his release, Mr. Mock was advised for the first time by his

father that Mr. Mock’s brother had recently arrived and was residing with the parents at their

home.

        Mr. Mock and his brother have had a volatile and antagonistic relationship for over two

decades. Within 72 hours of arrival to reside with his parents, local police were summoned

based on a call of a domestic disturbance. Local police took no action because there was no

evidence of any violent conduct engaged in by anyone and noted that some in the residence – not

including Mr. Mock – were intoxicated. At the suggestion of the local police – and his counsel

who was on the phone with him while the police were there – Mr. Mock isolated himself away

from the others in the house. Mr. Mock reported his contact with law enforcement to his Pretrial

Services Officer the following morning as required.

        For the better part of three weeks, Mr. Mock has resided in the garage so as to minimize

any interaction with his brother.




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        Initially it was expected that Mr. Mock’s brother would be at the house only temporarily.

But it now appears that there are no definite plans for his brother to depart the residence. The

status quo is likely unsustainable, with the potential outcome being some conflict between them

that ends up with Mr. Mock back in custody.

        Mr. Mock has another residence available to him. At the time of his arrest in June 2021,

Mr. Mock was only days away from moving in with his “significant other” in Roberts,

Wisconsin. That individual remains willing to have Mr. Mock reside with her, and to serve as his

Third-Party Custodian. That individual owns her residence, is not a witness in this case, and has

no criminal record.

        Counsel for Mr. Mock has provided information about the new residence and potential

Third-Party Custodian to Pretrial Services, but Pretrial Services requested that a motion be filed

with this Court directing it to investigate the suitability of the alternative residence.

        Mr. Mock moved to Minnesota 20 years ago. He has four children who live in that

region – ages 21, 13, 11, and 9. He was actively involved in all their lives prior to his arrest. He

maintains cordial relationships with the two women who are their mothers and saw all four

children regularly.

        Mr. Mock has employment opportunities in the Wisconsin area where he would reside

and will comply with whatever terms and conditions of release that would be imposed upon him

there. In that regard, the record of this case includes information provided to this Court that Mr.

Mock served seven years of active probation following a Minnesota state court conviction in

2009, and did not have a single violation of his terms of probation during his entire term of

probation.




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                                        CONCLUSION

       For the foregoing reasons, Mr. Mock respectfully requests this Honorable Court to direct

Pretrial Services to conduct an investigation into the proposed alternative residence and Third

Party Custodian, and make a recommendation to the Court regarding the suitability of the same

for purposes of a motion by Mr. Mock to amend the terms and conditions of his pretrial release

to allow him to reside in Roberts, Wisconsin.



Dated: June 13, 2022                         Respectfully submitted,

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